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              UNITED STATES DISTRICT COURT
                               Eastern District of California
     Petition to Modify the Conditions or Term of Supervision
                   with Consent of the Offender
                        (Probation Form 49, Waiver of Hearing, is on file)

Name of Offender:      Fred Pineda                           Docket Number:   0972 2:11CR00134-12

Name of Judicial Officer:      United States District Judge John A. Mendez

Date of Original Sentence:     8/8/2014

Original Offense: 21 U.S.C. § 846 & 841(b)(1)(A) - Conspiracy to Distribute Over 500 Grams of
Methamphetamine (Class A Felony)

Original Sentence: 81 months custody of the Bureau of Prisons; 60 months Term of Supervised Release;
$100 Special Assessment; Mandatory Drug Testing; DNA Collection; Firearms Restriction.

Special Conditions:

Warrantless Search
Financial Disclosure
Financial Restrictions
Drug/Alcohol Treatment
Drug/Alcohol Testing
Aftercare Co-payment
Registration (drug)

Type of Supervision:     TSR

Date Supervision Commenced:          11/30/2015

Other Court Actions:

11/06/2015:    Sentence reduction pursuant to 18 USC 3582(c)(2) – previously imposed sentence of
               imprisonment of 81 months reduced to 64 months. All previously ordered terms and
               conditions of Supervised Release remain in effect.

02/10/2016:    Probation 12A Petition approved by Your Honor advising the Court of the offender’s use
               of marijuana. The Court approved the probation officer’s recommendation, and no
               further Court action was taken.




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                                   PETITIONING THE COURT

To modify the conditions of supervision as follows:

   1.   The defendant shall abstain from the use of alcoholic beverages and shall not frequent those
        places where alcohol is the chief item of sale.

   2.   The defendant shall complete 200 hours of unpaid community service as directed by the
        probation officer. The defendant shall pay fees attendant to participation and placement in this
        program on a sliding scale as determined by the program. Community service shall be completed
        by 1/1/2017.

Justification: Mr. Pineda released from the custody of the Bureau of Prisons on November 30, 2015, to
reside with his parents in Stockton, California.

In February 2016, the Court was advised of violation conduct that included Mr. Pineda admittedly using
marijuana in violation of his terms of supervised release. At the time, Mr. Pineda was admonished as to
the conduct and cautioned that ongoing violation behaviors may result in greater sanctions. He has since
been participating in outpatient drug treatment services. The Court agreed with the Probation Officer’s
recommendation, and no further action was taken.

This is to inform the Court of new violation conduct. Specifically, on July 29, 2016, at approximately
7:56 a.m., Mr. Pineda was arrested by Stockton Police Officers (Police Report Number 16-28399). A
review of the police report verifies Mr. Pineda was contacted by officers during a traffic stop. Officers
later performed a breath test in which Mr. Pineda provided a sample of .13% Blood Alcohol Content
(BAC). Mr. Pineda was booked into the San Joaquin County Jail and later released. He is scheduled to
appear in San Joaquin County Superior Court on August 19, 2016, to answer to the charges of California
Vehicle Code Section (CAVC) 23152(A) & (B) - Driving Under the Influence of Alcohol; CAVC
22450(a) - Failure to Stop at a Stop Sign; and CAVC 5200(A) – Failure to Display License Plates.

As directed, Mr. Pineda reported to the Probation Officer on August 3, 2016, to discuss the above-noted
behaviors. He admitted that he had been drinking with co-workers after he had gotten off of work that
morning. At times during the conversation, Mr. Pineda appeared to minimize the behaviors and even
chuckled during the conversation. In addition to his arrest, Mr. Pineda failed to report for drug testing on
August 1, 2016. The undersigned strongly admonished Mr. Pineda for his poor choices, and we discussed
the effects of his choices on others, including his parents, siblings and daughter, as well as the community
at large.

Mr. Pineda is gainfully employed and attending outpatient drug treatment services. Based on the conduct,
the Probation Officer believes additional conditions are appropriate, and Mr. Pineda has agreed to the
same. Specifically, Mr. Pineda has agreed to abstain from alcohol and perform 200 hours of community


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service by January 1, 2017. In addition, he will be referred to individual counseling services and start his
group counseling services over again, from the beginning.

The undersigned is concerned about Mr. Pineda’s ongoing poor choices to associate with negative peers.
However, at this time, the Probation Officer believes the above-noted sanctions are sufficient but not
greater than necessary to address the conduct.

                                                        Respectfully submitted,

                                                        /s/ Laura Weigel

                                                        Laura Weigel
                                                        Sr. United States Probation Officer
                                                        Telephone: (209) 549-2817
DATED:        8/11/2016
                                                        Reviewed by,


                                                                                  for
                                                        Brenda Barron-Harrell
                                                        Supervising United States Probation Officer




THE COURT ORDERS:

☒ Modification approved as recommended.

☐ Modification not approved at this time. Probation Officer to contact Court.

☐ Other

DATED: _8/12/2016_____                                       /s/ John A. Mendez___________________

                                                             John A. Mendez, U.S. District Court Judge

cc:     United States Probation

        Assistant United States Attorney: Michael Beckwith

        Defense Counsel: John Manning




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